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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                         FORT MYERS DIVISION

UNITED STATES OF AMERICA

v.                                             CASE NO: 2:11-cr-120-FtM-29CM

GUSTAVO ADOLFO LEON


                                      ORDER

      Before the Court is Defendant’s Motion to Seal (Doc. 363), filed on March 25,

2016. Defendant requests that his records be sealed. Doc. 363 at 1. Defendant

states that he was advised by his attorney that his records would not be public. Id.

Thus, he asks that his file be sealed. Id.

      “The right of the public to access judicial records is grounded in the common-

law right of access,” which applies in both civil and criminal proceedings. Perez-

Guerrero v. U.S. Atty. Gen., 717 F.3d 1224, 1235 (11th Cir. 2013). “There is a strong

presumption of openness in criminal proceedings.” United States v. Duke, 2013 WL

357515, at *1 (N.D. Fla. 2013) (citing United States v. Doe, 63 F.3d 121, 125-27 (2d

Cir. 1995)). While courts have discretion in determining whether good cause exists

to overcome open access filed documents, the court must consider whether sealing the

proceedings is “essential to preserve higher values.” Id. (citing Doe, 63 F.3d at 127;

Geller v. Branic Intern Realty Corp., 212 F.3d 735, 738 (2d Cir. 2000)).        Here,

Defendant has provided no grounds to support his motion to seal. Thus, the Court

cannot determine whether good cause exists to seal his records.
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      ACCORDINGLY, it is hereby

      ORDERED:

      Defendant’s Motion to Seal (Doc. 363) is DENIED.

      DONE and ORDERED in Fort Myers, Florida on this 6th day of April, 2016.




Copies:
Counsel of Record




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